Case 2:OO-cV-02656-.]PI\/| Document 196 Filed 08/18/05 Page 1 of 3 Page|D 317

 

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ron THE wEst:RN DISTRICT oF TENNESSEE 05 AU
wEsTERN D:vIsIoN G de AHH:gg
PHARMACIA croum f/k/a 'WA$
MoNsAN'ro coMPANY, gus Dii` ji§`O{/LDTCOLHT
'i‘?‘$idF H{S

Plaintiff,
v. NO. 00-2656 Ml

WI LLIAM TRANTI'IAM,

vaVVV`JVN-Iv

Defendant.

 

ORDER SETTING TELEPHONE CONFERENCE

 

A telephone conference has been Set for Mondayc Angust 29c
2005 at 9:00 a.m. to discuss Plaintiff'S Application for
Conditional Judgment. Plaintiff Pharmacia Company f/k/a Monsanto
Company shall initiate the call to the Court with all parties on

the line.

SO ORDERED this day day of August, 2005.

W_Q m‘@QQ

JON P. MCCALLA
ED STATES DISTRICT JUDGE

 

Thls document entered en the docket sheet fn compfianca
with Rule 58 and/or 79(a) FHCP on 5

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Notice of Distribution

This notice confirms a copy of the document docketed as number 196 in
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Honorable J on McCalla
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